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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 25-06267-VALLE


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.

  PETER EDWARD MARIN,

        Defendant.
                                      /


    DEFENDANT=S INVOCATION OF RIGHT TO SILENCE AND COUNSEL

        The defendant named above does hereby invoke his rights to remain silent

  and to counsel with respect to any and all questioning or interrogation, regardless of

  the subject matter, including, but not limited to: matters that may bear on or relate

  to arrest, searches and seizures, bail, pretrial release or detention, evidence at trial,

  guilt or innocence, forfeitures; or that may be relevant to sentencing, enhanced

  punishments, factors applicable under the U.S. Sentencing Guidelines, restitution,

  immigration status or consequences resulting from arrest or conviction; appeals or

  other post-trial proceedings.

        The defendant requests that the U.S. Attorney ensure that this invocation of

  rights is honored, by forwarding a copy of it to all law enforcement agents,

  government officials, or employees associated with the investigation of any matters



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  relating to the defendant. Any contact with the defendant must be made through the

  defendant=s lawyer, undersigned counsel.

                                         Respectfully submitted,

                                         HECTOR A. DOPICO
                                         FEDERAL PUBLIC DEFENDER


                                   By:    s/ Allari Dominguez
                                         Assistant Federal Public Defender
                                         Florida Bar No. 98383
                                         One East Broward Boulevard, Suite 1100
                                         Fort Lauderdale, Florida 33301-1842
                                         Tel: 954-356-7436
                                         E-Mail: Allari_Dominguez@fd.org




                            CERTIFICATE OF SERVICE

        I HEREBY certify that on April 30, 2025, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                         By:     s/ Allari Dominguez, AFPD




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